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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

JOHNNY TRAWEEK                                                       CIVIL ACTION

VERSUS                                                               NO. 19-1384

MARLIN GUSMAN, ET AL                                                 SECTION “F” 1

                      SCHEDULING CONFERENCE NOTICE

       A SCHEDULING CONFERENCE will be held BY TELEPHONE on
THURSDAY, DECEMBER 5, 2019, at 9:30 a.m. for the purpose of scheduling a
pre-trial conference and trial on the merits and for a discussion of the status and
discovery cut-off dates. The Court will initiate the telephone conference call and will be
represented at the conference by its Case Manager.

      TRIAL COUNSEL are to participate in this conference. If, however, you are
unable for good cause to do so, another attorney in your firm may participate if
acquainted with all details of the case and authorized to enter into any necessary
agreements. If, for good cause, neither is possible, you must file a Motion and Order to
Continue at least one week prior to the above date.


                                           CHERIE B. STOUDER
                                           CASE MANAGER, SECTION “F”
                                           (504) 589-7683



COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF RULE
26(a)(1) and 26(f), LOCAL RULE 26 AND THE CORPORATE DISCLOSURE
REQUIREMENTS OF F.R.C.P. 7.1.


COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS
NOTICE.
